

















&nbsp;



•&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;•&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;•     
  •          •         •




MEMORANDUM OPINION

No. 04-09-00723-CV

CMR ENERGY, L.P.,
Appellant

v.

Martin GUAJARDO and Celia Guajardo,
Appellees

From the 293rd Judicial District Court, Maverick County, Texas
Trial Court No. 06-06-21768-MCV
Honorable Cynthia L. Muniz, Judge Presiding

PER CURIAM
&nbsp;
Sitting:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Catherine Stone, Chief Justice
Karen Angelini, Justice
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Marialyn Barnard, Justice
&nbsp;
Delivered and Filed: March 17, 2010&nbsp;

JOINT MOTION TO REVERSE AND REMAND GRANTED; REVERSED AND REMANDED

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The parties have filed a joint motion stating they have fully resolved and settled all issues in
dispute.  The parties ask that we reverse the trial court’s judgment and remand the cause to the trial
court for entry of a take nothing judgment in accordance with the settlement agreement.  See Tex.
R. App. P. 42.1(a)(2)(B).  The parties have also asked that we release and discharge CMR Energy,
L.P., as principal, and Travelers Casualty and Surety Company of America, as surety, from the
supersedeas bond filed to suspend execution of judgment.  The parties have agreed that each party
will bear its own costs.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We grant the motion.  The judgment of the trial court is reversed and the cause is remanded
to the trial court for entry of a take nothing judgment in accordance with the parties’ settlement
agreement.  The supersedeas bond filed by CMR Energy, L.P., as principal, and Travelers Casualty
and Surety Company of America, as surety, is released and all obligations thereon are discharged. 
Costs of the appeal are taxed against the parties who incurred them.  And, the clerk of this court, as
requested by the parties, is ordered to issue the mandate contemporaneously with this opinion.  
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;PER CURIAM


